

Matter of Dietert (2022 NY Slip Op 01095)





Matter of Dietert


2022 NY Slip Op 01095


Decided on February 17, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 17, 2022

PM-33-22
[*1]In the Matter of Zachary Alan Dietert, an Attorney. (Attorney Registration No. 4905240.)

Calendar Date:February 14, 2022

Before:Garry, P.J., Clark, Reynolds Fitzgerald, Colangelo and Ceresia, JJ.

Zachary Alan Dietert, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Zachary Alan Dietert was admitted to practice by this Court in 2011. Dietert now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Dietert's application.
Upon reading Dietert's affidavit sworn to November 30, 2021 and filed December 7, 2021, and upon reading the February 3, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Dietert is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Reynolds Fitzgerald, Colangelo and Ceresia, JJ., concur.
ORDERED that Zachary Alan Dietert's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Zachary Alan Dietert's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Zachary Alan Dietert is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Dietert is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Zachary Alan Dietert shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








